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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                            CRIMINAL NO. 10-20581

v.                                                   HON. ROBERT H. CLELAND

D-2 LARI ZEKA,

               Defendants.
                                        /


                            PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, an Indictment (“the Indictment”) was filed on or about October 10, 2010

which charged Defendants LARI ZEKA and John Wilson, in Counts One through Sixty, of

violations of 18 U.S.C. § 1341 and 18 U.S.C. § 2 (Mail Fraud; Aiding and Abetting);

       WHEREAS, the Indictment contained Forfeiture Allegations pursuant to 18 U.S.C. §

982(a)(2)(A) and 28 U.S.C. § 2461(c) seeking forfeiture of any property, real or personal, which

constitutes or is derived from gross proceeds traceable to a violation or violations of 18 U.S.C. §

1341, to include a forfeiture money judgment for a sum which, in aggregate, represents property

constituting or derived from gross proceeds traceable to violations of 18 U.S.C. § 1341;

       WHEREAS, Defendant LARI ZEKA, entered into a Rule 11 Plea Agreement on January

10, 2012, pursuant to which he pleaded guilty on January 13, 2012 to Count 33 of the

Indictment, which charges Mail Fraud;

       WHEREAS, in the Rule 11 Plea Agreement Defendant LARI ZEKA agreed to forfeit,

pursuant to 18 U.S.C. § 982(a)(2)(A) and 28 U.S.C. § 2461(c), his interest in all property, real

and personal, which constitutes or is derived from gross proceeds traceable to his violation of 18
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U.S.C. § 1341, as alleged in Count 33 of the Indictment;

       WHEREAS, in the Rule 11 Plea Agreement Defendant LARI ZEKA also agreed that he

may be ordered to pay a forfeiture money judgment, representing the total amount of proceeds

obtained as a result of his offense, for which he would be jointly and severally with co-defendant

John Wilson;

       NOW, THEREFORE, based upon the Indictment, the Rule 11 Plea Agreement, and the

information in the record;

       IT IS HEREBY ORDERED that a forfeiture money judgment in the amount of One

Million Four Hundred Thousand Seven Hundred Fifty Seven Dollars and Seventy Three Cents

($1,400,757.73) is granted and entered against Defendant LARI ZEKA, in favor of the United

States, of which the defendant shall be held jointly and severally liable with defendant John

Wilson in the amount of One Million Three Hundred Sixty One Thousand Three Hundred Seven

Dollars and Seventy Three Cents ($1,361,307.73);

       IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2(b)(4)(A) and (b)(4)(B)

this Preliminary Order of Forfeiture shall become final upon entry, be made part of Defendant’s

sentence and included in the judgment, and shall not be the subject of ancillary proceedings

given that the forfeiture consists entirely of a money judgment;

       IT IS FURTHER ORDERED that any unpaid balance of the money judgment may be

satisfied through the forfeiture of any property of Defendant as substitute property by operation

of 21 U.S.C. § 853(p)(1) and (p)(2); and

       IT IS FURTHER ORDERED that the Court shall retain jurisdiction to enforce this Order

and to amend it as necessary pursuant to Fed.R.Crim.P. 32.2(e).


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                                             S/Robert H. Cleland
                                            ROBERT H. CLELAND
                                            UNITED STATES DISTRICT JUDGE


Dated: March 8, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record and/or
pro se parties on this date, March 11, 2013, by electronic and/or ordinary mail.


                                             S/Lisa Wagner
                                            Case Manager and Deputy Clerk
                                            (313) 234-5522




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